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AO 242 (12/11) Petition for a Writ of Habeas Coxpus Under 28 U.S.C. § 2241

UNITED STATES DISTRICT COURT
for the ` F l L E D

° ` UN\TED STATES DlSTRlCT COURT
Dlstrlct of Colorado DENVER' cOLoRADO

Shaaban Shaaban Hafed
A 073-353-789

sEP 0 6 2017

JEFl`-'i<r:`¥ l-'. uuLWELL
cLERK

 

Petitioner

 

V' Case No.

'17 "S“CVU-i’k@°? 1 3 9

 

The Secretary of the Deparlment of Homeland Security

VVVVV\/V\/\/V

 

Respondent
(name of warden or authorized person having custody of pelitioner)

PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241

Personal Information

1. (a) Your full name: Shaaban Shaaban Hafed
(b) Other names you have used: none
2. Place of confmement:
(a) Name of institution: Aurora Detention Center
(b) Address: 3130 N. Oak|and St.
Aurora, Colorado 80010
(c) Your identification number: A 073-353-789
3. Are you currently being held on orders by:
dFederal authorities |:l State authorities CI Other - explain:

 

4. Are you currently:
lj A pretrial detainee (waiting for trial on criminal charges)
El Serving a sentence (incarceration, parole, probation, etc.) alter having been convicted of a crime
If you are currently serving a sentence, provide:
(a) Name and location of court that sentenced you: `

 

 

(b) Docket number of criminal case:

 

(c) Date of sentencing:

 

dBeing held on an immigration charge
Uth€I‘ (explaz'n)!

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

Decision or Action You Are Challeligirig

,r

5. What are you challenging in this petition:

l:lHow your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
revocation or calculation of good time credits)

l:l Pretrial detention

dlmmigration detention

l:l Detainer

|:IThe validity of your conviction or sentence as imposed (for example, sentence beyond the statutory
maximum or improperly calculated under the sentencing guidelines)

l:l Disciplinary proceedings

I:l Other (explain)f

 

 

 

6. Provide more information about the decision or action you are challenging:
(a) Name and location of the agency or court2 immigration Court
3130 N. Oakland St. Aurora, CO 80010

(b) Docket number, case number, or opinion number: A 073-353-789

 

 

 

(C) DeCiSiOn Or action you are Challenging 0’or disciplinary praceedings, specify the penalties imposed)!
voluntary deportation, entitle for release as no mandatory detention required by law and no involuntary removal
required by immigration law. spent more than 10 1/2 months in Aurora detention center

 

 

(d) Date of the decision or action: 02/16/2017

 

Your Earlier Challenges of the Decision or Action

7. First appeal
Did you appeal the decision, file a grievance, or seek an administrative remedy?
E(Yes lJNo
(a) If “Yes,” provide:
(1) Name of the authority, agency, or court: Board of |mmigration Appeals

 

 

(2) Date of filing: 03/15/2017

(3) Docket number, case number, or opinion number: a 073-353-789

 

 

(4) Result: pending for more than 5 months
(5) Date of result:
(6) Issues raised: request for voluntary removal.

 

 

 

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

 

 

(b) If you answered “No,” explain why you did not appeal:

 

 

 

8. Second appeal
After the first appeal, did you file a second appeal to a higher authority, agency, or court?
l:lYes EINo
(a) If “Yes,” provide:
(l) Name of the authority, agency, or court:

 

 

(2) Date of flling:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

(b) If you answered “No,” explain why you did not tile a second appeal:

 

 

 

9. Third appeal
After the second appeal, did you file a third appeal to a higher authority, agency, or court?
CIYes l:INo
(a) If “Yes,” provide:
(l) Name of the authority, agency, or court:

 

 

(2) Date of flling:

(3) Docket number, case number, or opinion number:
(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

10.

 

 

 

 

(b) If you answered “No,” explain why you did not tile a third appeal:

 

 

 

Motion under 28 U.S.C. § 2255

In this petition, are you challenging the validity of your conviction or sentence as imposed?

CI Yes

dNo

If “Yes,” answer the following:

(a)

(b)

Have you already filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
Cl Yes El No

If “Yes,” provider

(1) Name of court:

(2) Case number:

(3) Date of filing:

(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
seeking permission to tile a second or successive Section 2255 motion to challenge this conviction or
sentence?

CI Yes E{No
If “Yes,” provide:

(1) Name of court:

(2) Case number:

(3) Date of tiling:

(4) Result:

(5) Date of result:

(6) Issues raised:

 

 

 

 

 

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

ll.

 

 

 

 

(c) Explain why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
conviction or sentence: because it is immigration matter

 

 

 

 

 

 

 

 

Appeals of immigration proceedings
Does this case concern immigration proceedings?
dYes lJNo
If “Yes,” provide:
(a) Date you were taken into immigration custody: 10/14/2016
(b) Date of the removal or reinstatement order: 02/16/2017 v
(c) Did you file an appeal with the Board of Immigration Appeals?
dYes lj No
If “Yes,” provide:
(1) Date of filing: 03/15/2017
(2) Case number: A 073-353-789
(3) Result: pending for more than 5 months
(4) Date of result:
(5) Issues raised: voluntary removal without detention and limitation of tme as | am not deportable

 

 

 

 

 

 

 

alien

 

 

 

 

 

 

(d) Did you appeal the decision to the United States Court of Appeals?
CI Yes dNo
If “Yes,” provide:
(l) Name of court:
(2) Date of iiling:

(3) Case number:

 

 

 

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

 

(4) Result:
(5) Date of result:
(6) Issues raised:

 

 

 

 

 

 

 

 

 

12. Other appeals
Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
raised in this petition?
ClYes Q{No
If “Yes,” provide:
(a) Kind of petition, motion, or application:

 

(b) Name of the authority, agency, or court

 

 

(c) Date of filing:

(d) Docket number, case number, or opinion number:
(e) Result:

(f) Date of result:

(g) Issues raised:

 

 

 

 

 

 

 

 

 

 

 

 

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground.

GROUND ONE: l held for more than 10 1/2 months in Aurora detention center despite l did not challenge my
removal from US, but the immigration charges which l removed pursuant to it did not require mandatory detention

 

 

and involuntary removal, so holding me till now is violation of Due process clause of the fifth Amendment of the

 

US constitution and it is cruel and unusual torture and punishment

 

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(a) SuppOI`tiIlg facts (Be brief Do not cite cases or Iaw.)Z

US Supreme court decision in many petitions and US courts of Appeals decisions in many immigration appeals

 

also under a uscs { 1228, a uscs { 1229(¢), a uscs { 1226(¢)

 

 

 

 

 

(b) Did you present Ground One in all appeals that were available to you?
liYes ClNo

GROUND TWO:

 

 

 

 

(a) SuppOI'ting facts (Be brief Do not cite cases or law.)!

 

 

 

 

 

 

 

(b) Did you present Ground Two in all appeals that were available to you?
l'JYes l:INo

GROUND THREE:

 

 

 

 

(a) SuppOI'ting facts (Be brief Do not cite cases or Iaw.)$

 

 

 

 

 

 

 

(b) Did you present Ground Three in all appeals that were available to you?
ElYes leo

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AO 242 (12/11) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241

GROUND FOUR:

 

 

 

 

(a) Supporting facts (Be brief Do not cite cases or law.):

 

 

 

 

 

 

 

(b) Did you present Ground Four in all appeals that were available to you?

lJYes l:|No
14. If there are any grounds that you did not present in all appeals that were available to you, explain why you did
not:

 

 

 

 

Request for Relief

15. State exactly what you want the court to do: to be released immediately, let me deport myself or to be deported vol-

untary from my home state indiana with my family.

 

 

 

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AO 242 (12/11) Peu`tion for a Writ of Habeas Corpus Under 28 U.S.C. § 2241
Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:
Sept. 4, 2017

 

I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. l understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

Date: 09/03/2017 /_?

/ \ 7
Signature of Petitioner

 

Signature of A tlomey ar other authorized person, if any

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Executive Office for lmmigration Review

Board of Imrnigration Appeals
Ojj‘ice of the Clerk

5107 Leesburg Pike, Suite 2000

/`/ Falls Church, Vr'rgr`nia 22041
HAFED, SHAABAN SH`AABAN DHS/lCE Office of Chief Counsel - AUR
A073-353-789 r- 12445 East Caley Avenue
DHS / lCE l GEO ~ Centennia|, CO 80111-5663
3130 N. OAKLAND STREET `
Aurora, CO 80010 » . ~'

1 _._NameeHAE.ED, sHAAeAN sHAAeA~N-~='.~_;e,<l-;= :-;~_-_ .Ao;'?e;ess_~vsee~.-;e>: -s-_.»~.»~-~ -

Type of Proceeding: RemOVal 'Date of this notic'e:` 3/15/2017

Type of Appeal: Case APPee| Filed by:Alien

FlLlNG RECElPT FOR APPEAL

The Board of lmmigration Appeals acknowledges receipt of your appeal and fee or fee waiver request
\(where applicable) on 3/13/2017 in the above-referenced case. t

WARNlNG: |f you leave the United States after filing this appeal but before the Board issues a decision your appeal will be considered
withdrawn and the lmmigration Judge's decision will become final as it no appeal had been taken (unless you are an "arriving allen" as
denned in the regulations under 8 C.F.R. § 1001 .1(q)).

WARNlNG: lf you have been granted voluntary departure by the immigration Judge, you must submit sufficient proof of having posted
the voluntary departure bond set by the lmmigration Judge to the Board of lmmigration Appeals. Your submission of proof must be t
provided to the Board within 30 days of filing this appeal lf you do not timely submit proof to the Board that the voluntary departure
bond has been posted. the Board cannot reinstate the period of voluntary departure 8 C.F.R. § 1240.2(c)(3)(ii).

PLEASE NOTE: .~
ln all future correspondence or filings with the Board. please list the name and allen registration number ("A" number) of the case (as
indicated above), as well as all of the names and "A" numbers for every family member who is included in this appeal.

~~~~f_.‘:. rs.._.... - v - `~...~.~.,v~ ._~ .'.; ___ ..,..__.,.~~ “..,._ ~.__,- .~» ‘;~.._. ,:..:-;,~ -~:.,_._~-~' -,.~:;._.,..'“;.» »-'-~:»-'
lf you have any questions about how to tile something at the Board, you should review the Board's Pragti@ Mang§l at
www.iustice.gov/eolr.

Pr ffervi nth in a tth addr a v ir irdfrALL bmissinst h Bar oflmmirinA els-
including correspondence, forms, briefs, motions, and other documents lf you are the Respondent or Applicant, the “Opposing Party" 1
is the District Counsel for the DHS at the address shown above, Your certificate of service must clearly identify the document sent to
the opposing party, the opposing party's name and address, and the date it was sent to them. Any §ubmi§§ign til§ with th§ ngrd

withogt a Eniicatg of servi@ on th§ opggsing Qthy will ge rei§gteg.
' LeH

Userteam: P_Q_M

 

 
 

 

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U.S. Depnr"lment off-lemelsan Security

  

Immi ration _Detnincr-Notiec o!'Ac_tt'on.

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Date orblrrh; os¢:.s¢o.ssz _ ~ Notz°ormliry: mims _ '

S¢X: M
Yotr arc advised that the action noted below lms been taken by lite U.S. Depnrtmcnt ofllomeland Securiq{
concerning the above-named inmate ofyour institution: l

 

 

ij A warrant ofanesr tn removal proceedings a copy ofwhich_is mched. was served nn_

. . ‘ train
U Dcpormlion ortemoval item the linked Statth been ordered
It is treated llmt you: `
Pleaso accept this notice ns n` dotolner; this ls l`er notification purpwes

mtd does vel limit your discretion in amy decision
affecting the ofl°cnder's glusilimtinn. work, end quarters tis'si'gnmmls, orollt
»._\`. . " `

er treatment which lie orshc won ot visa receive

 

27 mont mgurnrtm ar cert 237.7) regime nat you tenn trw ann rm n

Srrndtry's and Fedeml helidays) le provide adequate lime for DHS to

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5 Plt:usr: complete and sign lite bottom black oftltc duplicate nl`tlrt's l`orm

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pra-intl nnt tn crime 48 hours (c.\'clirdtng Stiutrdnys. -
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Case 1:17-Cv-02139-LTB Document 1 Filed`®§lQGj_fLi__ USDC Co|orado Page 12 Of 46

 

  

  
     

 

U.$. Depertment ofHomeImd Security

   

 

In removal proceedin under section 240 of the Immigi‘atiot_t and Naliohality Act: `
subject In: 355317304 . Fntst 1187209413 ' '
- FneNo: 073 . 353 789
nom 03/15/1952 Evant: No= Pm:1603000041

 

 

In the Mattet' o£' _ _
' Respondent _SHAABAN SHAABAN BAPHD AKA: SHAABA!!, 'Beo Continttation page hdc l Plrt H¢reo£ may residing at
nas/ron - 'oxo 3130 n. ontm_nmo ss. Aurora,cortoaapo, 8001_0 _ . _ (303) 361-6612 '
(Numbor, street, city and ZIP wde) (Area code and phone _number)
m 1. Youareannm'vingali.. .
has not been admitted or _paroled,

m ` 2. You are an alien presentin the United Stntos _who
3. You have been admitted to the United States, but me removable for the reasons stated belovv.

The Depanment ot"Homeland Septnity _allcgcs that you:
l. '_You' are not a citizen or national of the United States;

2. You are a native of LRBANON and a citizen of LEBANON,-
3. You wera` admitted 'to the finith States at New Yorl:, New York on oz" about J\me 26, 1996
', as 'an 341 Lawful Pemnnent Resident. ` ~
_ con_`vi`ct¢d. in the Unit'ed States Dist:rict Court [a.t] the
Southern District of Indiazta for the offense of Tampering with a Wit'.ness [in violation of
1_8 USC §1512(!))(1) J for which the sentence imposed was forty (40) ntonths imprisonment in
eeu. of Prisons,~ an offense for` which a c_tentenoe of 5

the custody of the United States Bur l
years imprisonment or more may be imposed. Case N‘umber: 1:05€12000,34~001.

4`. You were, on May_ZG, 2006,

:o vi 1 ]S rs g r- l,afyouaf¢§u ' l ".i'ut'n l tr .:t. - t. 4 !=, $ tulsnallt‘todl¢f°nawm. g

Oothebasis of"
pt'ovisio . o lnw: . . . -
s i¢. A. `; . .~ of the Itmnigration and National:l.ty Act: (Act), as amended, in
hat, lt any time._after admission, You havo_been convicted of an aggravated felony as
defined in sec of the Act, an offense related to obstruction of
isonment is at least one year. - -

justice, `£or which the term of impr

»\i"

;;¢u'

 

l 'Ihis notice'is bein issued =' n t = - ..== - t found thttt the respondent has demonstrated a éredible fear of persecution

or torture. s
section 235(1»)(1) order was vacated pttrsua.-nto: Ustht 208.30(1)(2) E|scFR 235.3(1,)(5)(,'\') ' L

YOUARE ORDERED to appear before an innnigration judge of the United States Depart:ment of .lustice at: '
` Denver Contract Detention Facil:i.ty 3130 . Oalclnnd St. Aurora CO 80010. EOIR Aurora, CO

` remwa qrnontgmén ann ndun~r@)toammmber, umw
to show why you should not be removed from the United States based on the

 

 

 

 

 

on To be aet. at T° b@ lot-
(Date) .- (Frme) '
' cmrg¢(s) s¢¢fmh above_ n 4053 QuALAnToNE sDno
' _ (t¥’t`gl_tatureand?ide'oflma`ng@??caj
Daf¢: october'l§r 2015 l'loreoce, colorado
' . ~ (C!`grartd&a!e)
See reverse for important information
- Fotml-BGZ (Rev.08/01/07)

 

 

CaSe.l:l?-cv-OZlSQ-LTB Documentl Filed 09/06/17 USDC Co|orado Page.13_0f46

ill '. _ ‘ ` , 1
U.S.‘ Depa_rtmént Homeland,_S_e__c,_urity - _ . _ l -
- ' ` ' ' Additional Char es ofInadmissibili ,/De. orta_bili'

     

In: _ E] Removal proceedings under section 240 of the~Imniigration and Nationality Act

E_ l)eportation proceedings commenced prior to April 1, 1997 under former section 242 of the Immigr=ation and
_, Nationality Act _ _ v v _ ‘.
in the Matter o`f: ' .. ~ . - , WW)\, OV`()`®~¢ \G~KS` L& 0 v\
Alien/Respondent: Shaaban Hafed . _ ~ ~ X\"°-I»V~ <>\(~36¥&€.5

File No: A073 353 789 ' Address: 31‘30 N. Oakland Street Aurora, CO 80010'

_'Ihere is hereby lodged against you that you are subject to being taken into custody and_deported or removed from the United States
pursuant to the following additional provision(s) of law: _ ' . .

Section 23 7(a)(l)(A) of the lmmigration and Nationality Act (Act), as amended, in tl_iat at the time of entry or of
adjustment of status, .you were within one or more of the classes _of aliens inadmissible by the law existing at such
time, to vvit: aliens Who seek to procure, or have sou@t to procure, or 'vvho have h rocured a visa, other , `
documentation,' or Wtates,` or other benth provide under'the Act, by fraud or by
willfully misrepresenting a material fact, under Section 212(a)(6)(C)(i) of the Act. _ `

_"'"\

 

 

Section 237(a)(l)(A) of the lmmigration and Nationali_ty Act (Act), as amended, in that at the time of entry or of
adjustment of status, you_were within-one or more of the classes of aliens inadmissible by the law existing at such
time, to wit: `an immigrant who, at the'time' of application for admission, is not in possession of a valid une ired _
immigrant visa, reentry permit, border crossing card,` or other valid entry document required by the Act, and a valid

e el cument, or document of identi and nationality as?uired er the

unexpired as ort, or other '
reg_ulations issued by the Attomey General under section 211(a) of the Act, u`nder 2 lZ(a)(D(A)(i)Qof the Act.
a` ‘_"` _ ' `\~_

 

In support of the additional charge(s)~there is submitted the following factual allegation(s) § in addition to [:l in lieu of those set

forth in the original charging document '

\.

5 . Y_ou falsely represented your date of birth, country of birth, and failed to disclose your children on your
application for adjustment of status, approved on December 5, 1994, and failed to disclose your alias and _
prior undis_solved marriage on your I- 1_30 immigrant visa petition, approved on December 5, 1994.

6. You were`legally married to both Svetlana Anatolevn_a Shaban and Hanan Zayed Hafed at the time your
application for adjustment of status was approved on December 5, 1994. '

\

Date: December.22, 2016 ` l ql/‘W ‘ A,H/

(Signature of ICE Counsel)

 

Form l-261(Rev. 4/1/97)N

 

 

   

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AuRoRA, Co'~aooio

      

HAFED, SHAABAN SHAABAN

case No.: A073-353s789
Respondent _ _ IN REMovAL PRocEEnINGs' ' -;'

oRDER or ran IMMIGRATIQN JUDGE

 

This is_ a su_mmary of the oral decision entered on 2 '/é' ‘ 0/.7 \

-This memorandum is solely for the convenience of the.parties. If the . ' :
_proceedings should be appealed or reopened, the oral decision will become 3

tns'official opinion~in the case.' r ' . ' ` '

[ ;. The respondent was ordered removed from the Un"

. , / . ' w .or in the alternative to '

?f' [_ ] Respondent's application for voluntary de

` * _ _respondent was ordered removed to ' .

alternative to . -z - ' ..
. -v-------- . ..
[ 1 Respondent's application for voluntary departure was

 
 
   

 
  
  

__ _ 1 with an alternate order of_removal to ' ' . ' '
§Bespondent's application for:. "' " ' '
*[}*] Asylum was-( )granted (. )denied(~ )withdrawn. v , _ ,, ', x
~ ‘ ] Withholding of removal was ( )granted ( )denied l )withdrawn.'a`.
- "f `J A Waiver'under Section was ( )granted ( )denied ( ')withdrawn"_ N`
~["] Cancellation of removal under section 240A(a) was { )granted: ii )deniedf
_-g~;" ( )withdrawn. __ ' '~ ` - "§1.!
1} .' ,r" Respondent's application foré . 7 _ '§‘7"
Fjj'¢ -. [ ] Cancéllation under section 240A(b)(1) was l ) granted ( ) denied f-j
' . { ) withdrawn; If granted, it is ordered that the respondent be issued
~fl% 3 '¢ . . all appropriate documents necessary to give effect to this order. 1 ' '
:‘ " _ [ ]. Cancéllation under section 240A(b) (2) was ( )granted .( )denied _
' ` " ' ( )withdrawn.T If granted it is ordered that the respondent be issue

. all appropriated documents necessary to give effect to this order: ' _ _‘

[ ] Adjustment of Status under Section was ( )grahté ` ( )denied " fi:f

t )withdrawn. If granted it is ordered that the respondent be issued'§‘

; . all appropriated documents necessary to give effect to this orderiij

[ ] Respondent's application pf`(’ ) withholding of removal jt ) deferral of'
1 removal`under Article III of the Conventiqn Against Torture was ";` ~‘
~ '( )gi~anted -(~ ) qenied ( ) withdrawn, .. ,
l Respondent's status was rescinded under section 246.
] Respondent is admitted to‘the United States as a until
J ¢As a condition of admission, respondent is to post a $ ~
l Respondent knowingly filed a frivolops asylum application after

   
 
 

 

[ il Proceedings were terminated."‘
["] Other: -

Date;'.Z"/[p_; ,Lol,) `

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'Appéal:i/Reserved Appeal~Due .By; . l

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' lCase 1:17-cv-02139-L.TB Document 1 Filed 09/06/17 USDC Co|ora`do Page 1_5 of 46 :

 

 

 

 

 

 

 

 

To Whom It May Concern

GEO acts as a Government in the
Government

 

| shaaban S. Hafed, detainee by the Bureau of lmmigration & Customs
Enforcement (|CE) since 10/14/2016, professor, doctor of science, international
investigative journalist, writer and was a political prisoner in the USA since
3/3/2005, 65 years old, had been attacked and assaulted by the GEO employee `
Howarth, on 7/17/2017 during his work in the E-l segregation unit in the GEO .
private detention center located in Aurora, Co|orado. l injured when Howarth
slammed the cell door on me, seemly my shoulder broke or dislocated or the
bones and muscles pressed in extreme way which needed emergency help and X-
ray but l deprived from having it because of the lieutenant (Lt) Knight’s fault when
he ordered officers, who are GEO civilian employees, to restrain me when |
leaving my cell despite my injuries and extreme pain, so l could not escorted to
the medical service without cuffs or to be cuffed in the front.(GEO is private
civilian'contractor, gave its employees military or the Federal Bureau of prisons
(FBOP) ranks as officer, |ieutenant, major even the director called himself warden,
it is only to impress the detainees and to let believe that they are under federal
authority and power)

l deprived from my right to have a medical service treatment which is
negligence and made my injuries worst every day of delaying treatment

The attack-detail in the following:

1- 2 months ago ( exactly on 5/15/2017) GEO civilian employee Howarth was
assigned to E-l unit in the first shift starting on 7 am to 3 pm, the nurse came
during the day to distribute medications as usua|, she tried to give me
medications for my pain.and sicknesses but l told her that | will keep it till
evening as | was fasting, she did not oppose it, but Howarth suddenly opened

 

 

 

 

 

 

 

 

 

Case 1:17-cv-02139-LTB. Documentl Filed 09/06/17 USDC Co|orado Page 16-of,46 t `

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' the cell’s door and grabbed the medications from the shelf in non-friendly
way and gave it back to nurse who surprised but could not said anything
against what Howarth done. | became mad and angry | stopped talking to him
at all in that day and after it. He interfered in medical service' job without
request from the nurse who did not opposed to keep medications as l have all
medications in my cell, but that blood pressure medication was finished and
no refilled yet, so usually nurses give to me replacement as temporary
solution till medication card arriva|. | deprived from my blood pressure
medications which | could suffered heart attack or stroke or any other fatal
consequences | wrote a complaint which Lieutenant Anding response to it on
5/18/2017 sided with Howarth against me and l unfortunately did not appeal
the erroneous response. See exhibit l\/lF-1

2- Three weeks ago Lt. Knight assigned to E-1 unit GEO employee Perry who
usually acting in disgusting ways farting loudly in the front of detainees,
whistling in noisy voice all day, and interfere in the detainees personal
activities as looking in the cells while detainees using the toilet, looking inside
shower while detainees taking a shower and naked, he seemly sick. l went
with another detainee to law library at 1 pm and returned back at 3 pm when
l returned back l mentioned that all my food and commissary gone, even
drinking powders and coffee were less than | left it, Perry said that he threw it
a way, l was outrageous, why he did not do the search in the morning or
when l was in the shower, about shower he came and looked in the shower
while | took a shower and naked at 10 am and asked me again if l need a
razor, despite | told him that | did not need a razor before | started the
shower, | told him no in loud voice while he looked to me while l was naked,
and why he waited till | was in the law library to do what he did, he acted as a
burglar not as professional guard, l cursed him and asked to see the
|ieutenant, nobody came and Perry left at 3 pm when his work finished he
started at 7 am. So the next shift was officer Char|ey who under the order of
lieutenant Anding recovered from trash many stuff as soup, oyster, sardines,
tuna, and other commissary stuff which bought :by me and other detainees
who gave it to me in gift or l borrowed it for my health need. | don't eat from
trash. So l filed complaint which Lt. Anding denied it and started to defense

 

 

 

 

 

 

 

 

 

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Case 1:17-cv-02139-LTB Document 1 Filed 09/06/117 USD__C Co|orado.» Page 17 of 46

 

 

 

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Perry by seeing that | did not buy the commissary, and forgot about stuff
bought by me to justify the denial to compensate me 100$ for lost food, any
way the other confiscated and thrown in the trash stuff was peanut butter in
packets, jelly packets, bread , good oranges and able, so it was not spoiled or
bad products despite it given by the kitchen, it was fast month Ramadan
which ended few days ago, and l as sick with hemorrhoid | did not eat a lot or

justice again by Anding. See exhibit l\/lF-Z. | appealed the denial but | received
more lies that l stored in abundance food served by the facility due to
sanitation and health hazards, which nothing true in it, l had jelly, peanut
butter and no any spoiling food. And not 10 bags but 4 bags other bags had
no food at a|l. See exhibit l\/lF-3. ,

3- On 7/17/2017 Knight assigned to E-1 unit GEO employee Howarth in the first
shift, who l tried not to talk with him to avoid conflict with him after he took
my medications on l\/lay, 2017. | was normal and found it difficult to ask him
to do anything for me, but because l needed shower for my health need to
minimize the burn and pain as result of the hemorrhoid, l asked at 10 am to
take a shower, and l went to shower, | did what usually l am doing | higher
the short curtain on the shower bars door to have privacy and to not let the
security camera see me naked in the shower, and l put my T- shirt in the
lower part of the door, it not blocked whole door, | even do less than other
detainees doing to cover up the door, | started to take a shower when
Howarth came and asked me to remove the T-shirt which nothing to do with
safety and security as no one officer before told me to do so, | told him to call
the lieutenant, he did not call anybody, he acted as usual as prosecutor, judge
and executor, he removed the T~shirt and took with it the laundry bag and
threw it outside the unit. He put me in embarrassed situation, l was naked,
we have in the unit transgender-female detainee, also our religion and
culture required privacy while naked, l started to curse him and to bring my T-
shirt back, he seemly planned confrontation and fight under Lt. Knight order
to drag me in it deliberate|y, knowingly and intentionally. lt was violation of
privacy and respect treatment which GEO promised to guarantee

 

as usual so l kept some product to eat it later also l am diabetic. l denied »

 

 

 

 

 

 

 

 

 

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l finished the shower and l refused to go back in cuffs as Howarth asked me to
turn around, l had been served without cuffing me, also l did not trust him
and l asked him to call the lieutenant who l will return back by his escort only
not by Howarth, he refused to call the'lieutenant, he went and sat on his
chair.

After 10 minutes he came by his decisionc opened my cell door and after that
he opened the shower door and went back to his chair. l thought it was a trick
to attack me, | waited for few minutes, l grabbed my things in the shower and
went to my cell which located 5-6 feet from the shower to prepare for the
social time which started at 11 am while it was 11 05 am when l returned to
my cell. The cell door remained open l thought he will not do anything after
what done as he opened the shower door by himself and let me go so no
threat as the charges later stated. lf there was a threat he will not open the
shower door, l was under threat by big size man. l grabbed the cup with clean
drinking water to heat it in the microwave and a milk packet to start my social
time, suddenly while l was almost half way to leave the cell the cell door
slammed on me, the cup fell down the water splashed on me and seemly on
the Howarth and the milk fell down on the floor, my shoulder hurts as l tried
to protect my hands, shoulder became very painful. The cell door closed and l
needed emergency help.

At that time seemly Howarth gone for lunch and replaced him for few
minutes GEO employee Brian, the lndian original guy, l asked three times
Brian to come to my door but seemly he ignored all my calls under Howarth
order, l wanted him to call medical for emergency cal|, even l wrote medical
kite and passed it through the cell door, he took it but did not talk with me.
Brian left and Howarth returned back, l asked for help as pain was extreme in
the shoulder. He refused till 2 pm when GEO employee Quezada came to take
part in the 2 pm count, an old good woman l screamed to her for help but l
heard Howarth telling her: don't worry about him, seemly Quezada forced
Howard to call medical and after 2 pm he called but nobody came from
medical service, seemly it was just fake call made by Howarth to let me heard
him and l\/|s. Quezada that he asked for medical assistant falsely.

 

 

 

 

 

 

 

 

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Case 1:17-cv-O2139-LTB Document 1_ Filed 09/06/.17 USDC Co|orado Page 19 of 46,

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8- l wrote complaints and asked for help but l did not get anything even next
day, l was the victim, on Tuesday came to me evening Lt. Grestein with
charge paper and asked me to write my point of view of what happened, l
wrote 4 pages quickly as l could within one hour as Grestein asked me to do, |
gave it to him, l read the charges after he left, he read to me my rights and l
signed on it. See Exhibit l\/lK-4, l read the charges which were full of lies
written by Howarth which contained 16 contradictory facts.

9- On the morning of the Wed. 7/19/2017 came to my cell Lt. Anding after l
told the GEO employee sent by Anding to escort me to his office that l cannot
go to his office because l am sick, in pain and not ready to do so, he handed
to me a paper that the hearing postponed which scheduled on 7/19/2017 on
Tuesday (seem|y it supposed to say Wed.) l did not tell him anything and he
did not tell me that it was a hearing through my cell’s slot, and it only took 2
minutes our meeting, he went back. See exhibit l\/lF-5.

10- On Thursday7/20/2017 | received so call lnstitution Disciplinary Panel (|DP)
report by GEO employee. See Exhibit lVlF~6 which imposed upon me 60 days
disciplinary punishment for violation l did not commit, | never presented
evidence, witnesses, facts and | never called to attend the hearing and no
hearing in reality took place. The panel was one person Lt. Anding, he was the
prosecutor, judge and executor. l never presented my case. l never asked to
attend this so called Panel and l had been judged in absence deliberately and
knowingly which the monkey's court has more justice than this pane|. The
judgment was severe and cruel, seemly Lt. Anding in conspiracy with Lt.
Knight waited this opportunity for long time to show their hatred and racism
against me, 60 days in the disciplinary segregation for violation code
108(assault), (Assau|t with drinking cleaning water, which is asinine joke), no
personal property allowed except for legal, religion and personal hygiene
items, no commissary food allowed begin on 7/17 to 9/14/2017. Also l
deprived from TV, inside recreation time, and must escort by two so called
officers, one hour outside recreation, which mean 23 hours in the cell, no
books, no news channels and nothing. This never happened and l never saw
similar to it in the ADX super max. Federal prison where l spent 10 years.
What crime l committed, l was the victim not the criminal. Who gave Lt.

 

 

 

 

 

 

 

 

 

 

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Anding the right to impose cruel and unusual punishment in violation of the
8"‘ Amendment of the US constitution???? '

11- Lt. Anding forgot that l am not in prison, | am here for removal

administrative proceeding, GEO has no right to be a government in the
government, cannot using federal Bureau of Prisons (FBOP) rules and
regulation, also cannot use the federal disciplinary system and special
management units regulations or so called PBNDS( performance based
national detention standard). GEO cannot acting on behalf of federal
government and federal courts and impose punishment on detainees who are
lCE detainees and housing in the GEO facility to treat them with respect and
without punishment. lf l assault GEO employee the state or local police who is
the official authority in the Co|orado state must file a report to them and if it
is a criminal case must be filed in the court of law by the officially appointed
District Attorney, not GEO which acting as prosecutor, court and executor on
the same time ignoring the existence of the state and the federal authority
who has a real power and imposing the law on the citizens. GEO employees
are civilians as the detainees they cannot take the law in their hands and
impose it by themselves when they want to do so. Lt. Anding in response to

my kite on 7/19/2017(see exhibit l\/lF-6) tried to justify the lDP report through b

his lies that he did the hearing at my cell. But in fact he gave me only a piece
of paper as l mentioned it in exhibit l\/lF-5. He is a professional liar.

12- The 60 days punishment in the solitary confinement with all other

restrictions are violation of the UN resolution against torture which passed in
2016 and the US signed on it, this resolution recognized that more than 14
days in solitary confinement is a torture. So GEO imposing torture on the
administrative detainees who are waiting deportation and not under federal
or states courts punishment for crimes. GEO exceeded it power and acting as
butcher and a government inside the US governm‘ent. The lDP report must be
cancelled immediately as it violating the state of Colorado law, the federal
law, the US constitution and lnternationa| human rights convention.

13- l need to have a medical treatment immediately for my shoulder, after a

week from assault against me by slamming heavy duty steel door on it only l
got opportunity to have X-ray which it was negligence by GEO medical staff,

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' Case 1:17-cv-021_39`-l_TB Docum’ent1 Filed 09/06/17 USDC Co|orado P._age 21 of 46

 

 

the pain continues till now. No medical help l got only the report made by
nurse Bjelan on Thursday 7/20/2017 which l had no copy of it despite l asked
for copy. See Exhibit |VlF-7.

14- For more than four months l had an extreme pain in my rectum, | don't
know if it is hemorrhoid or prostate cancer or colon cancer or something else,
GEO refused to transfer me to hospital for diagnosis and treatment. l can die
or my health deteriorated more for worst in absence of correct and effective
timely treatment while the untimely treatment will be ineffective and
baseless if the important time passed without getting necessary treatment.(
see few exhibits attached to this report regarding this issue). Also see the
ACLU report about fatal neglect in lCE private detention center.

15~ l need a police investigation immediately for the assault on me and attempt
to murder me. Seemly it was a failed planned assassination plot.

16- On 8/2/2017 again l had been robbed while l was in the law library, GEO
employee Hill entered my cell in my absence and took peanut butter, jelly,
even 2 new batteries given to me by GEO employee Admin to use it in the
radio which also belongs to GEO, and what shocked me that this Hill threw
away all my medications, the medication cards were empty from all tablets
which l take it on daily basis to treat my high blood pressure, diabetic and
high cholesterol, also the fiber which soften my stool to not have extreme
pain when l using toilet because of hemorrhoid,“ why all these searches and
seizure and targeting me?? And on 8/5/2017 assigned to E-1 segregation unit
GEO employee Perry who stole my commissary and other stuff month ago, to
create new conflict and to drag me in unpredicted revenge to charge me on
criminal charges, l am in danger here, l need to be transferred to any lCE
facility far from Colorado, or to deport me now.

17- l\/ly life in extreme danger, for almost 10 months since lCE agents arrested
me when l released from ADX super max prison located in Florence, Colorado
l did not removed from US because of the lCE negligence and bad work
despite l demanded removal on the day of my release on 10/14/2016 but `
seemly there is PAY-To-Play scam between lCE and GEO private contractor to
delay my removal by keeping me as long as possible as many other detainees
for more profits and bribes paid to the federal officers to get more costumers

 

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and keep them forever in the detention center,‘}or there is a plan to kill me

and not to let me leave US alive. l need help and to be transferred

immediately from here to any lCE detention center, particularly to Chicago

where my family will be close to me to spare my life and to get the necessary

treatment lCE carries responsibility for anything will happen to me.
Respectfully submitted

8/8/2017

   
   

a an Hafed
73353789
EO Aurora detention center
3130 N. Oakland St.
Aurora, CO 80010

 

 

 

 

 

 

 

 

 

 

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Case 1:17-cv-O2139-LTB Documentl Filed 09/06/17 tJSDC Co|orado Page-23 of,46 rt

 

 

 

EVIDENCE

These are the evidence which proving
that what mentioned in the report was
true.

 

 

 

 

 

 

 

 

 

 

 

 
  
  
 
 
   
    
 
 
   

 
   
  
 
   

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Detainee lD Number

mims » E- l
Detainee Na'me (Nombre de detem‘do) ` Dorm (Dormitori°o)

Date Grievance is Written

6" /6 /%
Date Grievance is Received
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vartment Head Signature/Date: ' E_,
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Wed By/Date: v /%=Q- /-// /'7

Assistant Wardeo of Operations

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ed By/Date:
Warden

 

 

 

 

 

 

   

     
  

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l ` Con'e¢-tions & Detention ®

MEMORAND UM l GEO Con'ectlans & Detention

Aurora lce Processlng Center

 

Date: 5/18/1 7 ` 3130 oakland sr
Aurora, Co. 80013 7
To:‘ Gnevance Coordmator, K. Marun _ TEL: 303361_6612.
Www.geogroup.oom

CC. Hafed, Shanban #73353789

From: Lieutenant, T. Anding _,d-<’? "

RE: GRIEVANCE #17-196

A review of grievance #17-196 was conducted. You stated in_ your grievance you stated that an
O ' urmedication. During an interview with the Oflicer it was learned that

This memo is being Written for documentary purposes only.

 

 

 

 

 

 

 
 
    
  
    

  
 

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Dormg`] (Dormiton'o) _
`l l '~ 20 l g
Date Gn‘evance is W en

Date Gn‘evance is Received

 

__;'; G`n‘evance Coordinator Sigmture

 

 

 

 

            
     
   

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Tssistant Warden of Operations '

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Wardén

 

 

Conections & Detention ®

ME MORAND UM GEO'Correcu'ons & Detentlon
Aurora lee Processing Center

 

Date: 7/6/1 7 3130 oakland sr
» Aurora, Co. 80013

To: Gnevance Coordlnator, K. Martm . TEL: 30&36166,2
www.geogroup.com

CC. Ha_fed, Shaban #76653 789

From: Lieutenant, T. --4 ’7

RE': GRIEVANCE #17_247 . - _

A review of grievance #17-247 Was conducted on 7/6/17. You stated in your grievance that an
0 wn of your cell without you being there and took your commissary

 

 

 
 
   
 
   
  
     
       

   
     

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e unit. Fi|e the appeal Wl'thjn five (5)'

   

Pa_ra abellae la decision de su queja, lil_'ma en al fondo de esta pagina con su razon de apel|acion.
esm'forma en la eaja de q_uejas. Ci‘nco (5) tres dias para apella

Regrese
r depues de recibir su decision.

 

 

; Basis oprj)eal:_c§_Gfl\¢d OL<M¢'~L'L

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Gn'evance Committee Decision: ‘("'W` SRY\S`: \ $\¢.§“\\%_L

 

 

 

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Comn'n’ttee Member Signature/Date: . § z Z% 7/1/7

Hnal Appeal:

 

 

 

 

 

Varden Signature/Date:

 

:vised 2/10/] 5

 

 

 

The GEO Group, |nc.
Date: Ju1y 12, 2017

GEO Conectlons
53 Aumra ICE Processmg center
To: Shaban Hafed 7553789 3130 N. oaklandszreer
Aurora, CO 80010
From: Appeal Committee ¢ WWW-geogrwp.wm

RE: GRvaNcE APPEAL.coMmTTEE ,

 

 
    

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Detainee Nme:HMMMm

ID# M ' Nationah'ty: w

Date & Time ofIncident: 07/17/17 @ 1020 Housing Assignment: El-\lm
Incident Location: El-§hower and Ce11 Work Assignment: M

Classiiication Level: I_Iigh

 

PROHIBITED ACTS:

]_ Assaulting a stad` member nge; 108
2, Threatem`og a staff member Code; 100
3, Refizsing to obey an otHcer's order Code_- 307
4_ Insolence toward a staff member Code; 308

 

 

Descn°ption ofIncident:

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Supporting Repoxts? Y @ N/
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Name ofReporting Of!icer Date and Time Signature '

Reviewed for accuracy prior to investigation by: \;(` lcN" L"'"/

Sup.ervisor
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` *b‘a`té.- 07/18}2017

  

To: Hafed, S.

From: M. Knight, Administrative Lieutenant
RE.' Incident of Pr`ohibited Acts and Nolice of Cbarges ,
Detainee Hafed, S

The institutional discip

linary panel hearing Will be postponed until Tuesday, 07/19/201_ 7 aiier an
uninvolved supervisor retums

to work and is able to review the video footage. The heating Will be
conducted between the hours of 8:00 am and 5:00 pm.

Tln's memorandum is being completed for documentary pulposes only.
Lieutenant
M. Knight

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Signature

 

 
 
    
   
    
   

 

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Copy delivered to detainee

 

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MEDICOS

, SOLIC]TUD PARA SERVICIOS

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Dental Complaint .'
Motivo Denta'l

Pn'n¢.- g _\,\BQ §§ gm \ja.§¢d! \\`$ §§ K\ §§
Letra-Molde: ~ Inmate’s Name

Number Housing Location “`_.:-j'Holn's
Nombre del Preso Numero Sitio de Vivienda Horas de Trabajo

 

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so solicitud sea procesada.

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PROBLEM/QUEJA:

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Letm-Molde: Inmate’s Name ' Num_ber _

 

 

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Housing LOc;ti_on WHoms
‘ Nombre del Preso Has

Nllmero Sitio de Vivienda de Tmbajo

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Date/Time Received: _?’ w // ?' 2100

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To: EAppointment Made
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Letra~Mo]de: Iumate’s Name Number ' HousingLocation DutyHou)§
' Nombre del Pxeso Nnm`eln .Sitio de Vivz'enda -H¢_)zas de Thbajo
Brielly state the reason for your request; you will receive a response to your request Please allow several
days for your request to be

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The GEC Group, |nc.

Aurora Detention Center
Medica| Department

Detainee Gn'evance Response

Detainee Name: Shaban Hafed Date of Grievance: 6/6/2017, 6/8/2017

Detainee Number: 73353789 Date_Grievance Received: 6/7/2017, 6/8/2017
Dorm: E-1 Date of Response: 6/13/2017
Summary of Grievance: Claims he requested pain kille'r. Complains a new staff member did not give

him fiber pil|s'as he requested.

your medical condition.

Continue to use the Request for Medical Services process (Kites) to make medical staff aware of any

changes to your physical condition.

HSA Signature: %\S%A c ~ Date: (p j ’3 ll ’7

 

$ColT V|NEYABD. H.S.A.

 

 

 

 

 

 

 

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~ equest sought the ODO f .
.Customs Enforcement (ICE) of failing to reviews of24 deaths that occurred in ICE \
; ` llow accepted medical practices and even _Custody li'om ]anuaiy 201'Q through May
_. its_ own.revised standards for providing ' 2012,” after the 2009 revised standards \
healthcare to detainees-manyofwhom are went into eH`ect. The report focuses on
` in Civi'l detention awai' ‘ lum hearings eight detainees who died in ICE custody `\
According to thenr::oarsl~: 56 detainee and describes in'Chilling detail e appar-
`\`\`. deaths have ocCum:dinICE Custodydunng entinabllity~ or unwillingness ~ ofICE to -
e Obama a ' 'stration, inclu ' address sen‘ous de£cienciesin the agency’s _
` \ _ suzcides. Federal o cials foimula_tetl new medical u'ealinentpro_tocols
~ -I standards or unmigmtion detention Even anuaiy~ 2014 “139 facilities ` '
\ ties in 2009, then again in 2011. Fol~ holding 44 percent of de edimniigrants
lowing the implementation of the 2009 s ` operated under other, outdated stan~ ___-...____-\
\ standards,ICEsO ce ofDetention Over- dar at were promulgated as early as '
sight (ODO) began producing detainee 2008, or even 2000, prior to the creation \
\ death reidews, which were obtained by the ofICE.”Sonze of those facilities were not '
ACLU through Freedom ofluf'o ation even contractually obligated to follow the \ ~
_ '. A~ct (FOIA) requests ` newniedi_cal tment standards ` .
~ 'lhe more recent 2011 standards Were ongi'ess has shown an interest in \
, not in eHcct at ICE ciliti`es dating the compelling IC to

 

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care, including in legislation specifying dragits feetin complying with their latest of:lCE detention facility inspections to
e agency “cannot end funds to im- _ FO Arequests detaineemedical- ensure thati`f_problemsareuncovered they `
migration detention facilities that fail two related issues _ ~ ar_e promptly corrected, by dismantling the
consecutive .. inspections However, even 'lhe three olgani°zations made several agency’s “cultuie of secre .” "`
e newinspectionsmandated byCongress recommendations to improve ICE’s health astl}; increase the tr sparency of\
ave many Haws and may not be rigorous care system First, reduce the number of inspections,in-custody deaths andmedical _
enough to markedly improve medical cane detainees to maximize resources available incidents at immigration detention facilities___
or detained ` ' ts. or medical care ICE currently operates bymaking ODO death reviews, inspection '
Delicient inspections clearly con- under a “bed man te”tha't requires »lzhe reports and related documents publiclyr
ributed to the eight dcat_hs_ highlighted agenq to hold at lea_`s”t 34,000 detainees a_t available and _by creating'an “independen_t
l the report, which notes that negative anygivcn time. [See:PLM ]an.2016, p.46 m dical advisory committee to investigate
s‘pection £ndings Were “essentially swept Second, improve the d veiy of medical ea s that occurin deten `on.”@l
linder the rug.”A lack of accountability care requiiing all detention facilities to `
l sparency was widely seen as con~ adopt ICE’s 2011 standards, by revising Source; “Fata/Mg/rcr: igow` ICE ]gnore.r
uring toliealth care inadequacies athE 'them to incoiporate NCCHC standards Deazfér in Deteriz‘io)z, h tneACLU Dere)z
ities, as has been the case with other formedi'cal carein prisons and ja ` ` ’
ral agencies such as the federal Bureau '

 

 

 

 

 

DISCIPLINARY SEGREGATION _REVIEW

 

 

On 08/02/2017 Administrative Lieutenant, Gerstein conducted a formal review of the
(Date) (LT Name)
Disciplinary Segregation stems of Hafed, S 7§3§37§9

(Detainee Name) (ID#)

Date Disciplinary Segregation began: 05@1/201 7
Date Disciplinary Segregation ends: 09/14/2017
Detainee has been in Disciplinary Segregation for 64 days.

The following factors were reviewed with the results as indicated:

YES NO
l. Does the reason for initial placement remain valid? [X] [ ]
2. Does the detainee pose a threat to himself? [ ] [X]
3. Does the detainee pose a threat to others? [ ] [X]
4. Does the detainee pose a threat to propeny? [ ] [X ] ,
5. Does the detainee pose a threat to security? [ ] [X ]
6. ls the detainee defiant towards authority? [ ] [X ]
7. ls the detainee unwilling or unable to live in the general population? [ ] [X]
8. ls the detainee’s habitual conduct language, or behavior of a type .
which may provoke or instigate stressful/violent situations amongst
l X] l l

the general population?

If any of the above factors are marked “Yes”, the detainee must continue his/her existing status, unless the Facility Administrator
determines otherwise lf all factors are marked “No", the detainee may be released.

DOC[_)MENT REVIEW

l. ls the detainee being offered three showers/week and taking showers‘?

2. ls the detainee exercising at least one hour daily, 5 days a week?

3. ls the detainee being offered three meals daily and consuming at least
one meal daily?

4. ls the detainee receiving daily visits from medical stali'?

5. Are the special housing officers signing and properly filling out the
special housing assignment activity sheets? D{ ] [

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A “No" answer to any of` the above questions will require notification of the Captain.

l have received a copy of this review
(Detainee Signature) (ID#)

 

I

 

For the reasons above, l recommend l | do not recommend lt/|removal from DS status. End of disciplinary time,

Administrative Lieutenant Signature: ' Date: 3121 l Z

[ ] Concur with Recommendation
[ ] R ease
[ Continue Status

 

 

Date: ' 9[/// 7

Warden’s Signature:
Rev. 0309

 

 

 

